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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

REBECCA SCOFIELD,                           Case No. 3:22-cv-00521-REP

               Plaintiff,
                                             COUNTERCLAIMANT ASHLEY
               v.                            GUILLARD’S REPONSE TO
                                             COUNTER DEFENDANT REBECCA
ASHLEY GUILLARD,                             SCOFIELD’S MOTION TO QUASH
                                             SUMMONS FOR WENDY J. OLSON,
               Defendant.                    ELIJAH M. WATKINS, AND CORY M.
                                             CARONE (DKT. 25)

ASHLEY GUILLARD,

               Counterclaimant,

               v.

REBECCA SCOFIELD,

               Counter Defendant.


ASHLEY GUILLARD,

               Third Party Plaintiff,

               v.

WENDY J. OLSON, ELIJAH M. WATKINS,
CORY M. CARONE,

               Third Party Defendants.


The Parties Filing This Motion
      Ashley Guillard,
      msashleyjt@gmail.com
      3262 Westheimer Rd. 942
      Houston, TX 77098
      Telephone: 337.372.3181

      Pro Se

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       COMES NOW Counterclaimant Ashley Guillard in opposition to Counter Defendant

Wendy Olson’s Motion to Quash Summons for Wendy J. Olson, Elijah M. Watkins, and Cory

M. Carone (Docket No. 25).

                                       I. INTRODUCTION

       Counterclaimant and Third-Party Plaintiff Ashley Guillard filed 11 counterclaims in her

Answer to Complaint (Dkt. 20) adding Attorney Wendy J. Olson, Attorney Elijah M. Watkins,

and Attorney Cory M. Carone as third-party defendants to the complaint. All 11 counterclaims

are supported by Statute and are legally merited claims for relief; resulting from the concerted

actions of Plaintiff Rebecca Scofield and her attorney’s (Attorney Wendy J. Olson, Attorney

Elijah M. Watkins and Attorney Cory M. Carone) that are outside the parameters of professional

conduct, outside the provisions of Judicial Immunity and outside the provisions of Attorney

Immunity.

                                       II. BACKGROUND

       Beginning on November 24, 2022, Ashley Guillard used her spiritual practice, psychic

abilities, metaphysical tools, and investigative skills to uncover the motive and details that led to

the murder of the Four University of Idaho students that were killed in Moscow Idaho on

November 13, 2022. Her spiritual investigation revealed that Rebecca Scofield planned, initiated,

ordered, and executed the murder of four University of Idaho Students. On December 8, 2022,

Tracy Horan, Practice Assistant for Stoel Rives LLP, emailed Ashley Guillard demand letters

from Wendy J. Olson demanding Ashley Guillard to “cease making defamatory statements”

about Rebecca Scofield and to remove the “defamatory TikTok videos.” On December 12, 2022,

Ashley Guillard responded to the demand letter (by posting another TikTok video) that she

believed that she did not make any false statements about Rebecca Scofield and did not have to


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follow their demands. On December 13, 2022, Ashley Guillard posted another response to the

demand letter on TikTok stating that Rebecca Scofield does not have a case for defamation

against her; posting a document explaining the Substantial Truth Doctrine as a guide.

       Despite not having a legal defamation claim against Ashley Guillard that meets the

elements; Rebecca Scofield and her attorneys filed a frivolous defamation complaint against

Ashley Guillard in Federal District Court for the District of Idaho due to the diversity of

citizenship and falsified damages of $75,000 or more. Together, they conspired to deprive

Ashley Guillard of the freedom of speech, the freedom of spiritual practice and of 2 million

dollars; under the color of Idaho State defamation laws. The statements they published about

Ashley Guillard in the lawsuit were false, fabricated to meet the elements of a defamation claim.

       In furtherance of the conspiracy to deprive Ashley Guillard of her rights and property,

and to embarrass, humiliate, discredit and harass her, Attorney Wendy J. Olson and Rebecca

Scofield pushed a multi-national press release with multiple news media outlets publishing false

statements about Ashley Guillard. Attorney Wendy Olson published false statements that Ashley

Guillard made false statements that Rebecca Scofield ordered the murder of the four students

knowing they are false; for the purpose of using the community’s pain and the tragic event for

followers and for profit. The statements Attorney Wendy Olson published were disseminated on

multi-national news channels, social media, blog and news websites. As a result, Ashley Guillard

was harassed, targeted, and embarrassed publicly online, social media, through phone and email

nearly every day to current.

       In furtherance of the conspiracy to deprive Ashley Guillard of her rights and property,

and to embarrass, humiliate, discredit, and harass her, Attorney Wendy J. Olson, Attorney Elijah

M. Watkins, and Attorney Cory M. Carone mocked, denounced, and discriminated against


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Ashley Guillard’s spiritual practice; requesting the Court to join the discrimination of Ashley

Guillard spiritual beliefs and practices by issuing orders deeming it implausible.

        Counterclaimant and Third-Party Plaintiff Ashley Guillard filed 11 counterclaims in her

Answer to Complaint (Dkt. 20) adding Attorney Wendy J. Olson, Attorney Elijah M. Watkins,

and Attorney Cory M. Carone as third-party defendants to the complaint.

                                          III. ARGUMENT

A.      Argument against Olson, Watkins, and Carone not being proper parties to the

        action.

        Rule 14(a)(1) of the FRCP: A defending party may, as third-party plaintiff, serve a

summons and complaint on a nonparty who is or may be liable to it for all or part of the claim

against it. But the third-party plaintiff must, by motion, obtain the court's leave if it files the

third-party complaint more than 14 days after serving its original answer. In her Answer to

Complaint (Dkt. 20) Ashley Guillard asserted 11 counterclaims against Rebecca Scofield and

third parties Attorney Wendy J. Olson, Attorney Elijah M. Watkins, and Attorney Cory M.

Carone on (May 16, 2023); because they are jointly and severally liable for all the 11

counterclaims. Wendy J. Olson, Elijah M. Watkins, and Cory M. Carone were listed as parties in

the caption of the Answer and Countercomplaint (Dkt. 20), mentioned specifically in the

countercomplaint as liable parties, added as third parties to the complaint in the CM/ECF system

(Exhibit A) and received notice of the electronic filing (Exhibit A).

                            Argument Against Procedural Deficiency

        Although Ashley Guillard (mistakenly) referred to Attorney Wendy J. Olson, Attorney

Elijah M. Watkins, and Attorney Cory M. Carone as Counter Defendants she followed the

correct procedure to add them as Third-Party Defendants.


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       On June 2, 2023, she mailed, separately, Attorney Wendy J. Olson, Attorney Elijah M.

Watkins, and Attorney Cory M. Carone: A Request for Waiver of Service of Summons United

States District Court for the District of Idaho Form 1A, Waiver of Service of Summons United

States District Court for the District of Idaho Form 1B, and A Copy of the Answer and

Countercomplaint. To accompany the mailed documents, on June 7, 2023, Ashley Guillard

emailed the Third-Party Defendants (sent to cory.carone@stoel.com, elijah.watkins@stoel.com,

and wendy.olson@stoel.com) a second courtesy copy of the waiver request forms, a courtesy

electronic copy of the counter complaint and requested to have the waiver returned by email

(Exhibit B). Speaking on behalf of all three attorneys, Wendy Olson refused to waive service.

        On June 8, 2023, Ashley Guillard requested the Court to sign a summons for the “new

party counter defendants”; the summons’ were issued on the same day (Dkt. 24). On June 9,

2023, Wendy Olson, Cory Carone and Elijah Watkins were served at 101 S. Capitol Boulevard,

Suite 1900, Boise ID 83702. The return of service documents was filed with the Court on June

15, 2023 (Dkt. 26, Dkt. 27 and Dkt. 28). The Plaintiff was electronically served a copy of the

countercomplaint that also listed the Third-Party Defendants, the summons’ and the return of

service documents; using the CM/ECF system.

                            Argument Against a Lack of Liability

       Ashley Guillard asserts joint and several liability between Rebecca Scofield, Attorney

Wendy Olson, Attorney Cory Carone and Attorney Elijah Watkins for all 11 complaints. The

countercomplaint and third-party complaint are the same.

                                Argument Against Harassment




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       Third-party complaints are not harassment. Ashley Guillard is an American. Enforcing

her Federal rights as a United States Citizen is not harassment. Attorneys are not above the law.

Suing an attorney for their fraudulent actions, negligence, and liabilities is not harassment

                Argument Against a Need for A Motion for Joinder of Parties

       Ashley Guillard added the third-party complaint in her responsive pleading Answer to

Complaint (Dkt. 20). The Courts leave was not required pursuant to FRCP Rule 14.

                                       IV. CONCLUSION

       For the foregoing reasons, and for the reasons published in The Counterclaimants

Response to Counter Defendants Motion to Dismiss (Dkt. 35), Counterclaimant and Third-Party

Plaintiff Ashley Guillard respectfully requests that the Court deny Rebecca Scofield’s Motion to

Quash the summons issued to Attorney Wendy J. Olson, Attorney Elijah M. Watkins, and

Attorney Cory M. Carone.


DATED: June 30, 2023



                                                                               /s/ Ashley J. Guillard

                                                           Counterclaimant & Third-Party Plaintiff
                                                                    Date of signing: June 30, 2023
                                                                                Ashley J. Guillard


                                                                                     Pro-Se Litigant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2023, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

Cory Michael Carone: cory.carone@stoel.com,

docketclerk@stoel.com, tracy.horan@stoel.com;

Elijah Martin Watkins:

elijah.watkins@stoel.com, docketclerk@stoel.com, tracy.horan@stoel.com;

Wendy Olson: wendy.olson@stoel.com, docketclerk@stoel.com, tracy.horan@stoel.com.




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